
83 So. 3d 979 (2012)
John Mark KULO, Appellant,
v.
STATE of Florida, Appellee.
No. 5D11-2318.
District Court of Appeal of Florida, Fifth District.
March 23, 2012.
James S. Purdy, Public Defender, and Michael S. Becker, Assistant Public Defender, Daytona Beach, for Appellant.
John Kulo, Jasper, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
We affirm in all respects. We remand, however, for correction of a scrivener's error. The order reflects that the appellant violated conditions of probation 6 and 8. The record demonstrates, however, that he was found to have violated condition 5 and a special condition concerning attendance at AA meetings. The order on remand should be corrected as indicated.
AFFIRMED and REMANDED.
PALMER, MONACO and TORPY, JJ., concur.
